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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA,                              Hon. Edward Kiel

                                                       Magistrate No. 22-15110
                Plaintiff,
vs.

JANET LEE BLISSITT,

            Defendant.
_______________________/

                             NOTICE OF CHANGE OF ADDRESS

         COMES NOW, the Defendant, JANET LEE BLISSITT, by and through her undersigned

attorney and files this Notice of Change of Address with the Court and states the following:

         1. The Defendant is charged with wire fraud in the above styled case, in violation of 18

U.S.C. 1343.

         2. The Defendant has been on bond while this case has been pending. The Defendant is in

full compliance with her conditions of release. The Defendant is being supervised by PreTrial

Release in the Southern District of Florida.

         3. The Defendant recently purchased a mobile home and will be residing at 5321 S.W. 28th

Ave., Fort Lauderdale, Florida 33312. This address is within the same county where she has lived

during the entire pendency of the case.

         4. The Defendant is scheduled for a change of plea hearing on September 27, 2023 at 1 PM.

         5. The Defendant has already notified her PreTrial Officer of this change in address.
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                                                Respectfully submitted by,

                                                JONATHAN S. FRIEDMAN, P.A.
                                                ATTORNEY FOR JANET LEE BLISSITT
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                                                SUITE 1500
                                                FORT LAUDERDALE, FLORIDA 33301
                                                TELEPHONE: (954) 713-2820
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                                                /S/ Jonathan S. Friedman_____
                                                JONATHAN S. FRIEDMAN, ESQ.
                                                FLORIDA BAR NUMBER: 973297




                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 1, 2023 the undersigned attorney electronically filed

the foregoing document with the Clerk of the Court, United States Attorney's Office, Department

of Justice, and other counsel of record, if any, using CM/ECF and has served same via U.S. Mail to

those counsel(s) or individuals, if any, who are not authorized to receive electronically Notice of

Electronic Filing.



                                                        /S/ Jonathan S. Friedman_____
                                                        JONATHAN S. FRIEDMAN, ESQ.
